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June 10, 2025



FILED VIA CM/ECF



The Honorable Stephanie A. Gallagher
District Judge
U.S. District Court for the District of Maryland
101 West Lombard Street
Chambers 7C
Baltimore, MD 21201

Re:    J.O.P., et al. v. U.S. Department of Homeland Security, et al.,
       Civil Action No. 8:19-cv-01944-SAG


Dear Judge Gallagher:

         We represent Plaintiffs and the certified class in the above-captioned class action case. We write
to provide an update on a development in Kilmar Abrego Garcia et al. v. Kristi Noem, et al., C.A. 8:25-
cv-00951 (D. Md.) (“Abrego Garcia”) as it is relevant to Defendants’ compliance with this Court’s Order
to facilitate Class Member Cristian’s return to the United States to await the adjudication of his asylum
application (ECF No. 254).

        On or around June 6, 2025, the United States returned Mr. Kilmar Abrego Garcia to the United
States from detention in El Salvador, after having been ordered on April 4, 2025 to facilitate his return.
Abrego Garcia, ECF No. 181. Just a few weeks before the United States returned Mr. Abrego Garcia, the
government asserted to Judge Xinis that they “do not have the power to produce him.” Abrego Garcia,
ECF No. 165 at 6-7. The government’s return of Mr. Abrego Garcia confirms they have the power to
return individuals detained in El Salvador, despite their assertion to the contrary.

        Plaintiffs raise this development, as 1-1/2 months have passed since this Court ordered that the
government facilitate Class Member Cristian’s return to the United States. In accordance with the Court’s
June 5, 2025 Order (ECF No. 293), on June 9, 2025, Plaintiffs served expedited discovery requests related
to Defendants’ failure to comply with this Court’s Orders.
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Sincerely,

/s/ Brian Burgess
Brian Burgess



Cc: Counsel of Record via ECF notification
